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June 4, 2019                                                                  Michael B. de Leeuw
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Hon. Louis L. Stanton, U.S.D.J.
United States District Court
Southern District of New York
500 Pearl Street
New York, NY 10007

Re:    Federal Trade Comm’n, et al. v. Quincy Bioscience Holding Co., LLC,, et al., 17-cv-
       00124-LLS

Your Honor:

        We represent Defendants Michael Beaman and Mark Underwood (the “Individual
Defendants”) in the above-captioned matter. The Individual Defendants intend to submit
supplemental briefing on the additional grounds for dismissal set forth in their Motion to Dismiss.
This briefing will only relate to the issues that have not yet been ruled on by this Court or the
Second Circuit. The Individual Defendants will submit this supplemental briefing no later than two
weeks from today. We have conferred with the Plaintiffs, and they will submit responses to all
defendants’ supplemental briefing within two weeks of filing.

         The Individual Defendants also respectfully ask the Court to clarify that the discovery
schedule agreed to by the parties, and so-ordered by the Court at Dkt. #59, reflects deadlines
that will commence, if at all, on the date of an order on the additional motion to dismiss briefing.

Respectfully submitted,

COZEN O'CONNOR

/s/ Michael B. de Leeuw

BY:    MICHAEL B. DE LEEUW

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